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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


  THE TRAVELERS INDEMNITY                         Case No. 22-cv-04238-MMC
  COMPANY OF CONNECTICUT,
                                                  AMENDED
                Plaintiff,                        PRETRIAL PREPARATION ORDER
          v.

  GOLDEN EAGLE INSURANCE
  CORPORATION,
                Defendant.

       It is hereby ORDERED pursuant to Federal Rules of Civil Procedure and the Local
Rules of this Court:

JURY TRIAL DATE: Monday, March 11, 2024 at 9:00 a.m., Courtroom 7, 19th floor.

TRIAL LENGTH is estimated to be 3 to 5 days.

DISCOVERY PLAN: Per Federal Rules of Civil Procedure and Local Rules, subject to any
provisions below.

NON-EXPERT DISCOVERY CUTOFF: June 28, 2023.

DESIGNATION OF EXPERTS:

       Plaintiff/Defendant: No later than July 20, 2023.
       Plaintiff/Defendant: Rebuttal no later than August 14, 2023.

       Parties shall conform to Federal Rule of Civil Procedure 26(a)(2).


EXPERT DISCOVERY CUTOFF: August 28, 2023.

DISCOVERY MATTERS, unless otherwise ordered, are referred to a Magistrate Judge.

DISPOSITIVE MOTIONS shall be filed no later than September 25, 2023 and shall be noticed
for hearing 35 days thereafter.
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PRETRIAL CONFERENCE DATE: February 27, 2024 at 10:00 a.m.

       COUNSEL WHO INTEND TO TRY THE CASE MUST ATTEND THE
       PRETRIAL CONFERENCE. Counsel shall be prepared to discuss all aspects
       of the case, including settlement. Pretrial shall conform to the attached
       instructions.

MEET AND CONFER (Civil L.R. 16-10(b)(5): Lead trial counsel shall meet and confer no later
than January 3, 2024.

FURTHER STATUS CONFERENCE: Friday, December 15, 2023 at 10:30 a.m.

FURTHER STATUS CONFERENCE STATEMENT DUE: Friday, December 8, 2023.

ADDITIONAL ORDERS:

       Case previously referred to Private Mediation by agreement of the parties.

       See attached Pretrial Instructions.




PLAINTIFF IS ORDERED TO SERVE A COPY OF THIS ORDER ON ANY PARTY
SUBSEQUENTLY JOINED IN THIS ACTION.


Dated: April 7, 2023
                                             ______________________________________
                                             MAXINE M. CHESNEY
                                             Senior United States District Judge




(Revised 11/2021)
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                                  PRETRIAL INSTRUCTIONS

In advance of complying with the following pretrial requirements, for the purpose of preparing
for the Pretrial Conference and to discuss settlement, counsel SHALL meet and confer in good
faith and no later than the meet and confer deadline set forth in the attached order.

        A.     PRETRIAL STATEMENT: No later than ten court days before the scheduled
Pretrial Conference, the parties shall file a joint Pretrial Statement which shall set forth:

       1. The substance of the action;

       2. The relief claimed, including the particular elements of the damages claimed;

       3. The factual issues remaining, as well as any stipulations of fact;

       4. The legal issues, including a concise statement of each disputed point of law
concerning liability or relief and citing supporting statutory and case law;

       5. A current estimate as to the length of the trial;

       6. The status of the case with respect to alternative dispute resolution.

       7. A list of witnesses likely to be called at trial. Expert witnesses shall be listed
separately. Witnesses not included on the list may be excluded from testifying.

       B.      JURY INSTRUCTIONS:

       1.     Joint Set of Agreed Upon Instructions: The parties shall jointly prepare a set of
agreed upon jury instructions, which shall be filed ten court days prior to the Pretrial
Conference.

        2.       Separate Instructions: Separate instructions may be submitted only as to those
instructions upon which the parties cannot agree. Each separate instruction shall note on its face
the identity of the party submitting such instruction. Separate instructions shall be filed ten court
days prior to the Pretrial Conference.

        No later than ten court days prior to the Pretrial Conference, the party or parties
objecting to an instruction shall file a written objection to such instruction. The form of the
objection shall be as follows:

       (a) Set forth in full the instruction to which the objection is made;

        (b) Provide concise argument and citations to authority explaining why the opposing
party's instruction is improper; and

       (c) Set forth in full an alternative instruction, if any.
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        3.       Substance and Format of Instructions: The instructions shall cover all substantive
issues. Proposed instructions shall be consecutively numbered. Each proposed instruction shall
be typed in full on a separate page and cover only one subject, to be indicated in the title.
Citations to the authorities upon which the instruction is based shall be included. Instructions
shall be brief, clear, written in plain English and free of argument. Pattern or form instructions
shall be revised to address the particular facts and issues of the case.

       C.      VOIR DIRE AND VERDICT FORMS: No later than ten court days prior to
 the Pretrial Conference each party shall serve and file proposed questions for jury voir dire and
a proposed form of verdict.

        D.      FINDINGS OF FACT and CONCLUSIONS OF LAW: In non-jury cases, no
later than ten court days prior to the Pretrial Conference, each party shall serve and lodge with
the Court proposed findings of fact and conclusions of law on all material issues. Proposed
findings shall be brief, and free of pejorative language and argument. Whenever possible, parties
shall deliver to the Courtroom Deputy copies of proposed findings of fact and conclusions of law
on a CD in WordPerfect format. The disk label shall include the name of the parties, the case
number and a description of the documents.

       E.      EXHIBITS:

        1.      Copies of Exhibits for Other Parties: No later than ten court days prior to the
Pretrial Conference, each party shall provide every other party with one set of all proposed
exhibits, charts, schedules, summaries, diagrams and other similar documentary materials to be
used in its case in chief at trial, together with a complete list (see attached form) of all such
proposed exhibits. Voluminous exhibits shall be reduced by elimination of irrelevant portions or
through the use of summaries. Each item shall be pre-marked with an exhibit sticker (see
attached form), plaintiff's exhibits with numbers, defendant's exhibits with letters or with
numbers sequenced to begin after plaintiff's exhibit numbers. If there are numerous exhibits,
they should be provided in three-ring binders with marked tab separators. All exhibits which
have not been provided as required are subject to exclusion.

       2.       Stipulations Re: Admissibility: Prior to the Pretrial Conference, the parties shall
make a good faith effort to stipulate exhibits into evidence and be prepared to place their
admission on the record at the Pretrial Conference. If stipulation to admission in evidence is not
possible, the parties shall make every effort to stipulate to authenticity and foundation absent a
legitimate (not tactical) objection.

       3.      Copies of Exhibits for the Court: Two sets of exhibits shall be provided to the
Court on the first day of trial. Each set shall be in binders, tabbed and indexed.

\       4.       Disposition of Exhibits after Trial: Upon the conclusion of the trial, each party
shall retain its exhibits through the appellate process. It is each party's responsibility to make
arrangements with the Clerk of the Court to file the record on appeal.
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       F.       WITNESSES:

        1.      Jury Trials: The Pretrial Conference Statement shall include a list of witnesses
likely to be called at trial, other than solely for impeachment or rebuttal. Expert witnesses shall
be listed separately. Witnesses not included on the list may be excluded from testifying.

        2.      Non-Jury Trials: In non-jury cases, each party shall serve and lodge with the
Court a written narrative statement of the proposed direct testimony of each witness under that
party's control. Each statement shall be marked as an exhibit and shall be in a form suitable to be
received into evidence.

        G.     MOTIONS IN LIMINE: Motions in limine are limited to motions to exclude
specific items of evidence (i.e., specific testimony or exhibits) on a ground and upon such
authority as would be sufficient to sustain an objection to such evidence at trial.

        1. Motions in limine shall be filed and served no later than ten court days prior to the
date set for the Pretrial Conference. Any party opposing such a motion in limine shall file and
serve its opposition papers no later than five court days prior to the Pretrial Conference. No
reply papers will be considered.

        2. Each motion in limine and each opposition thereto, shall be individually numbered and
filed as a separate document.

        H.     LIST OF EXHIBITS WITH STIPULATIONS AND OBJECTIONS: No later
than one court day prior to the Pretrial Conference the parties shall file with the Court a list of
all exhibits admitted by stipulation; and a list of all exhibits as to which objections have been
made, with a brief notation indicating which party objects and for what reason.

       I.       OTHER PRETRIAL MATTERS

        1.     Settlement Conferences - Any party utilizing another form of Alternative Dispute
Resolution who wishes to arrange a settlement conference before a judge or magistrate judge
thereafter may do so by contacting the Courtroom Deputy.

         2.    Daily Transcripts - If transcripts will be requested during or immediately after
trial, arrangements must be made with the court reporter at least one week before trial
commences.



Attachments
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                            UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA


CASE NO. CR   -             MMC                          DATE:

___________________________ v. __________________________

                                    EXHIBIT LIST

            ( ) Plaintiff                          ( ) Defendant

   EXHIBIT
   NUMBER           MARKED          ADMITTED           DESCRIPTION OF EXHIBIT
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Case No. _________________________    Case No. _________________________
PLTF Exhibit No. _______1_________    DEFT Exhibit No. _______A ________
Date Admitted _____________________   Date Admitted _____________________
Signature _________________________   Signature _________________________

Case No. _________________________    Case No. _________________________
PLTF Exhibit No. _______2_________    DEFT Exhibit No. _______B_________
Date Admitted _____________________   Date Admitted _____________________
Signature _________________________   Signature _________________________

Case No. _________________________    Case No. _________________________
PLTF Exhibit No. ________3________    DEFT Exhibit No. _______C_________
Date Admitted _____________________   Date Admitted _____________________
Signature _________________________   Signature _________________________

Case No. _________________________    Case No. _________________________
PLTF Exhibit No. ________4________    DEFT Exhibit No. _______D_________
Date Admitted _____________________   Date Admitted _____________________
Signature _________________________   Signature _________________________

Case No. _________________________    Case No. _________________________
PLTF Exhibit No. ________5________    DEFT Exhibit No. _______E_________
Date Admitted _____________________   Date Admitted _____________________
Signature _________________________   Signature _________________________

Case No. _________________________    Case No. _________________________
PLTF Exhibit No. ________6________    DEFT Exhibit No. _______F_________
Date Admitted _____________________   Date Admitted _____________________
Signature _________________________   Signature _________________________
